     Case 4:19-cv-00706-A Document 18 Filed 12/16/19                 Page 1 of 2 PageID 526
                                                                                    U.S. DISTRICT COURT
                                                                             NORTIIERN DISTRICT m· THXAS
                                                                                          FILED
                           IN THE UNITED STATES DISTRICT COU1 T
                               NORTHERN DIVISION OF TEXAS
                                   FORT WORTH DIVISION                                  DEC 1 6 2019

CARREN STRATFORD, BY NEXT FRIEND                   §
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                                                                              CLERK. U.S. DISTRICT ~sa
JACKSON NYAMWA YA                                  §
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                                                                                         )'Jputy'
               Plaintiff                           §
                                                   §
v.                                                 §          No. 4: 19-cv-706-A
                                                   §
THYSSENKRUPP ELEVATOR CO.                          §
and RANDAL J. MASON                                §
                                                   §
               Defendants                          §


                             PLAINTIFF'S NOTICE OF APPEAL


       COMES NOW PlaintiffCARREN STRATFORD, by her Next Friend Jackson Nyamwaya,

and appeals to the United States Court of Appeals for the Fifth Circuit from the following Orders

of the United States District Court for the Northern District of Texas, Fort Worth Division:

1. November 21, 2019 Order (Dkt. 14) dismissing the claims and causes of action of plaintiff
   Carren Stratford, by her Next Friend Jackson Nyamwaya, against defendant Randal J. Mason
   and directing entry of judgment in accordance with the memorandum opinion and order signed
   November 21,2019 (Dkt. 13).


                                                       Respectfully submin


                                                 ~t{.~ Kern A. Lewis
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                                                        ATTORNEYS FOR PLAINTIFF




                                       CERTIFICATE OF SERVICE


           This will certify that on December 16, 2019, a true and correct copy of this Notice of

    Appeal was served on the following by email and by first-class mail.


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